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     HOLLISTER GEORGE
6
7
8                           IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   HOLLISTER GEORGE,               )           DC No. 1: 08-cv-132 AWI MJS
                                     )
12                  Petitioner,      )           Eastern District of California, Fresno
                                     )
13         v.                        )           ORDER SHORTENING TIME FOR
                                     )           HEARING ON PETITIONER'S
14                                   )           MOTION FOR RELEASE
                                     )
15   W.J. SULLIVAN, Warden,          )           Date: Monday, September 13, 2010
                                     )           Time: 1:30 p.m.
16                  Respondent.      )           Judge: Anthony W. Ishii
                                     )           Court: 2
17   _______________________________ )
18         Good cause having been shown, IT IS HEREBY ORDERED that Mr. George’s Unopposed
19   Request to Shorten Time on Mr. George’s Motion for Immediate Release is hereby granted.
20         Respondent shall file any opposition to Mr. George’s motion on or before September 7,
21   2010. Mr. George’s reply, if any, shall be filed on or before September 9, 2010. A hearing is
22   hereby scheduled on the motion for Monday, September 13, 2010, at 1:30 p.m. before District
23   Court Judge Anthony W. Ishii, in Courtroom No. 2, of the United States District Court, 2500
24   Tulare Street, Fresno, California, 93721.
25   IT IS SO ORDERED.
26
     Dated:    August 31, 2010
27   0m8i78                                      CHIEF UNITED STATES DISTRICT JUDGE
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